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                               EXHIBIT 7
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                            HIGHLAND CAPITAL MANAGEMENT, L.P.




January 7, 2021




NexPoint Advisors, L.P.
300 Crescent Court, Suite 700
Dallas, Texas 75201
Attention: James Dondero

        Re: Demand on Promissory Note

Dear Mr. Dondero,

On May 31, 2017, NexPoint Advisors, L.P, entered into that certain promissory note in the
original principal amount of $30,746,812.33 (the “Note”) in favor of Highland Capital
Management, L.P. (“Payee”).

As set forth in Section 2 of the Note, accrued interest and principal on the Note is due and
payable in thirty equal annual payments with each payment due on December 31 of each
calendar year. Maker failed to make the payment due on December 31, 2020.

Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of the Note, all
principal, interest, and any other amounts due on the Note are immediately due and payable. The
amount due and payable on the Note as of January 8, 2021 is $24,471,804.98; however, interest
continues to accrue under the Note.

The Note is in default, and payment is due immediately. Payments on the Note must be made
in immediately available funds. Payee’s wire information is attached hereto as Appendix A.

Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
expressly reserved. Interest, including default interest if applicable, on the Note will continue to
accrue until the Note is paid in full. Any such interest will remain the obligation of Maker.

Sincerely,

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Highland Capital Management, L.P.
Chief Executive Officer/Chief Restructuring Officer



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cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo
        DC Sauter




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                                    Appendix A


                  ABA #:          322070381
                  Bank Name:      East West Bank
                  Account Name:   Highland Capital Management, LP
                  Account #:      5500014686
